UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


In re:                                                 Chapter 11

The Diocese of Rochester,                              Case No. 2-19-20905-PRW

                      Debtor.


The Diocese of Rochester,

                      Plaintiff,

         v.                                             Adv. Proc. No. 19-02021-PRW

The Continental Insurance Company, et al.,

                      Defendants.


    NOTICE OF AMENDED MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
                FOR CX REINSURANCE COMPANY LIMITED

        PLEASE TAKE NOTICE, that on October 27, 2020, the undersigned attorneys and law
firm (the “Movants”) moved (the “Motion”) the United States Bankruptcy Court for the Western
District of New York (the “Court”) for entry of an order granting leave to withdraw as counsel to
CX Reinsurance Company Limited pursuant to Rule 2091-A(1) of the Local Rules of
Bankruptcy Procedure for the Western District of New York and Amended Standing Order dated
December 18, 2009.

        PLEASE TAKE FURTHER NOTICE, that a hearing to consider the Motion and any
objections related thereto will be held on November 5, 2020 at 11:00 a.m. (prevailing Eastern
time), or as soon thereafter as counsel may appear and be heard, before the Honorable Paul R.
Warren, United States Bankruptcy Judge for the Western District of New York, or such other
judge as may be sitting in his stead in the United States Courthouse at 100 State Street,
Rochester, New York 14614.

     PURSUANT TO FRBP 9014 AND THE STANDING ORDERS IMPLEMENTING
DEFAULT PROCEDURES IN ROCHESTER AND WATKINS GLEN, IF YOU INTEND
TO OPPOSE THE MOTION, AT A MINIMUM, YOU MUST SERVE: (1) THE
MOVANT AND MOVANT’S COUNSEL, AND (2) IF NOT THE MOVING PARTY (A)
THE DIOCESE AND DIOCESE’S COUNSEL; AND (B) IN A CHAPTER 11 CASE, THE
CREDITORS’ COMMITTEE AND ITS ATTORNEY, OR IF THERE IS NO
COMMITTEE, THE 20 LARGEST CREDITORS; AND (C) ANY TRUSTEE. IN



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ADDITION, YOU MUST FILE WITH THE CLERK OF THE BANKRUPTCY COURT
WRITTEN OPPOSITION TO THE MOTION NO LATER THAN THREE (3) BUSINESS
DAYS PRIOR TO THE RETURN DATE OF THE MOTION NOTWITHSTANDING
THE DECEMBER 1, 2009 AMENDMENTS TO FRBP 9006(a). IN THE EVENT THAT
NO WRITTEN OPPOSITION IS SERVED AND FILED, NO HEARING ON THE
MOTION WILL BE HELD ON THE RETURN DATE AND THE COURT WILL
CONSIDER THE MOTION UNOPPOSED.


Dated:          October 27, 2020       CLYDE & CO US LLP

                                       By: /s/ Peter J. Garthwaite
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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


In re:                                                  Chapter 11

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The Diocese of Rochester,

                        Plaintiff,

         v.                                              Adv. Proc. No. 19-02021-PRW

The Continental Insurance Company, et al.,

                        Defendants.


                AMENDED MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
                      FOR CX REINSURANCE COMPANY LIMITED

          Pursuant to Rule 2091-A(1) of the Local Rules of Bankruptcy Procedure for the Western

District of New York and Amended Standing Order dated December 18, 2009, the undersigned

attorneys and law firm, Clyde & Co US LLP (collectively, the “Attorneys”) hereby move the

Court for leave to withdraw as counsel (“Motion”) to CX Reinsurance Company Limited

(“CX”). In support of this Motion, the Attorneys state as follows:

                                        BACKGROUND

          1.      On September 12, 2019 (the “Petition Date”), the Diocese of Rochester (the

“Diocese”) filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the

United States Bankruptcy Court for the Western District of New York (the “Court”).




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          2.    On November 14, 2019, the Diocese filed a Complaint against CX and several

other insurers, initiating the above-captioned adversary proceeding (the “Adversary

Proceeding”).

          3.    On January 9, 2020, the Court entered orders [Docket Nos. 16, 17] granting the

pro hac vice admission of the Attorneys to represent CX and certain other insurers named as

defendants in the Adversary Proceeding.

          4.    On August 17, 2020, CX entered insolvent administration under the laws of the

United Kingdom (the “UK Proceeding”). On August 19, 2020, the joint administrator appointed

in the UK Proceeding sent a letter to all legal representatives of CX instructing them “to take no

further action unless advised otherwise in respect of any matters on which [they] were instructed

by [CX].” A true and correct copy of the August 19, 2020 letter from CX’s joint administrator is

attached hereto as Exhibit A.

          5.    On September 14, 2020, the foreign representatives and joint administrators of

CX in the UK Proceeding filed a petition for recognition under chapter 15 of the Bankruptcy

Code with the United States Bankruptcy Court for the Southern District of New York (the “New

York Bankruptcy Court”), commencing Case No. 20-12156 (MG). On October 8, 2020 the New

York Bankruptcy Court entered the Order Granting Recognition of Foreign Main Proceeding

and Related Relief (the “Recognition Order”), inter alia, recognizing the UK Proceeding as a

foreign main proceeding pursuant to sections 1517(a) and 1517(b)(1) of the Bankruptcy Code,

ordering application of the automatic stay imposed by section 362 of the Bankruptcy Code and

staying “all judicial and foreclosure proceedings in the United States against any member of

[CX] or against any of their respective assets in the United States.” (See Recognition Order at 3-

4.) A true and correct copy of the Recognition Order is attached hereto as Exhibit B.



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                           RELIEF REQUESTED AND BASIS THEREFOR

          6.        Pursuant to Rule 2091-A(1) of the Local Rules of Bankruptcy Procedure and

Amended Standing Order dated December 18, 2009, withdrawal as counsel for a non-debtor

party is permitted upon a motion setting forth sufficient detail as to why such a withdrawal will

not substantially prejudice the client.

          7.        The stay imposed by the Recognition Order protects CX from judgment in this

Adversary Proceeding. Accordingly, the Attorneys’ withdrawal will not prejudice CX.

          8.        Furthermore, the Attorneys have been instructed by the joint administrators in the

UK Proceeding to take no further action on behalf of CX.

          WHEREFORE, the Attorneys respectfully request that the Court enter an Order granting

the Attorneys leave to withdraw as counsel to CX and such other and further relief as the Court

may deem just and proper.

Dated:          October 27, 2020                     CLYDE & CO US LLP

                                                     By: /s/ Peter J. Garthwaite
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